                                        Case 17-32426-hdh7                      Doc 195    Filed 01/31/21
                                                                                                  FORM 1
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                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                               Page No:    1
                                                                                                        ASSET CASES

Case No.:                      17-32426-HDH                                                                                                                    Trustee Name:                              Scott M. Seidel
Case Name:                     PREMIUM COMMERCIAL PLUMBING, INC.                                                                                               Date Filed (f) or Converted (c):           01/16/2018 (c)
For the Period Ending:         12/31/2020                                                                                                                      §341(a) Meeting Date:                      02/06/2018
                                                                                                                                                               Claims Bar Date:                           08/20/2018

                                   1                                                2                             3                                   4                         5                                           6

                          Asset Description                                      Petition/                Estimated Net Value                    Property                  Sales/Funds              Asset Fully Administered (FA)/
                           (Scheduled and                                      Unscheduled               (Value Determined by                    Abandoned                 Received by              Gross Value of Remaining Assets
                      Unscheduled (u) Property)                                   Value                         Trustee,                   OA =§ 554(a) abandon.            the Estate
                                                                                                        Less Liens, Exemptions,
                                                                                                           and Other Costs)

 Ref. #
1       4717 Highway 34 South                                        (u)           $300,000.00                            $225,000.00                                                $0.00                                            FA
2       Cash on hand.                                                (u)                   $0.00                                  $0.00                                              $0.00                                            FA
3       Security deposits with public utilities, telepho             (u)           $171,000.00                                    $0.00                                              $0.00                                            FA
Asset Notes:      This asset did not appear on the conversion schedules as the debtor was in arrears and providers retained the deposits to cover arrearages
4       BANK ACCOUNTS                                                (u)            $27,711.50                              $3,037.54                                                $0.00                                            FA
Asset Notes:      These funds were in the DIP account and checks had been written against the funds.
5       CHECKS FOR DEPOSITS                                          (u)           $104,638.92                                    $0.00                                              $0.00                                            FA
Asset Notes:       This asset does not appear on conversion schedules as checks in the chapter 11 were to be deposited in the D-I-P account . Any checks held by debtor upon conversion had already been
                   deposited into account
6       Patents, copyrights and other intellectual prope           (u)              $4,776.00                                    $0.00                                             $0.00                                              FA
Asset Notes:      This asset does not appear on conversion schedules. Testimony is that this was an error
7       Licenses, franchises and other general intangibl             (u)                   $0.00                                  $0.00                                              $0.00                                            FA
Asset Notes:      This asset did not appear on conversion schedules
8       Licenses, franchises and other general intangibl             (u)                   $0.00                                  $0.00                                              $0.00                                            FA
Asset Notes:      This asset does not appear on conversion schedules
9       Licenses, franchises and other general intangibl             (u)                   $0.00                                  $0.00                                              $0.00                                            FA
Asset Notes:         This asset does not appear on conversion schedules
10      Inventory.                                                   (u)            $76,000.04                                    $0.00                                              $0.00                                            FA
Asset Notes:         From the original petition, no 1019 schedules were filed despite requests.
11     A/R 90 days old or less. Face amount =                   (u)          $954,550.39                                   $0.00                                                 $0.00                                                FA
       $954,550.
Asset Notes:     Debtor claims there are many offsets to A/R number for amounts owed, or that have already been paid without notice to the Debtor, to sub-contractors and/or vendors
12     A/R 90 days old or less. Face amount =                  (u)            $248,265.05                                     $0.00                                                  $0.00                                            FA
       $248,265.
Asset Notes:     This asset does not appear on conversion schedules. And testimony is that any AR in this listing is uncollectible
13     A/R Over 90 days old. Face amount =                     (u)            $84,329.07                                          $0.00                                              $0.00                                            FA
       $84,329.07.
Asset Notes:     This asset does not appear on conversion schedules. Testimony is that this asset is uncollectible
14      Desk, Tables, File Cabinets, Chairs, Sofas See E             (u)                $4,013.00                                 $0.00                                              $0.00                                            FA
Asset Notes:         On conversion schedules, this entry appears as "miscellaneous" and includes any office equipment whether leased or owned. The auctioneer did not find anything of value owned by the
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Case No.:                      17-32426-HDH                                                                                                                     Trustee Name:                               Scott M. Seidel
Case Name:                     PREMIUM COMMERCIAL PLUMBING, INC.                                                                                                Date Filed (f) or Converted (c):            01/16/2018 (c)
For the Period Ending:         12/31/2020                                                                                                                       §341(a) Meeting Date:                       02/06/2018
                                                                                                                                                                Claims Bar Date:                            08/20/2018

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                         Asset Description                                        Petition/                Estimated Net Value                     Property                  Sales/Funds              Asset Fully Administered (FA)/
                          (Scheduled and                                        Unscheduled               (Value Determined by                     Abandoned                 Received by              Gross Value of Remaining Assets
                     Unscheduled (u) Property)                                     Value                         Trustee,                    OA =§ 554(a) abandon.            the Estate
                                                                                                         Less Liens, Exemptions,
                                                                                                            and Other Costs)

                   debtor in this category to sell for benefit of the estate.
 Ref. #
15      Light fixtures in building owned See Exhibit 2.                 (u)               $52.50                                   $0.00                                                $0.00                                           FA
Asset Notes:        This asset does not appear on conversion schedules. Testimony is that this fixture will convey with building and is not a seperate asset and was listed in error.
16     Computers, Monitors, Phones, Server, Software            (u)            $9,362.00                                    $0.00                                            $0.00                                                      FA
       Se
Asset Notes:     Conversion schedules greatly reduced this value by more than half as testimony revealed that much of the "computer equipment" was leased or "gone" with no explaination during the ch 11
17       CARS, VANS, TRUCKS, TRACTORS, SUVS,                            (u)         $35,100.00                              $35,100.00                                                  $0.00                                           FA
Asset Notes:       MTLS granted re:
                   2014 Dodge Ram
                   2014 Dodge Ram 2500
                   2016 Silverado C2500
                   2015 Silverado K3500
                   2016 Chevy City Express
                   The Trustee did not administer these vehicles.


                   The Trustee administered (per DN 116) :
                   2009 Dodge Ram
                   2006 Isuzu
                   2002 Navistar International Dump Truck
                   30' trailer
                   Bobcat Model E85
                   25' gooseneck trailer
                   2009 Ford F-350


               2016 Chevy Express LS
               2015 Silverado K3500
18       EQUIPMENT                                                      (u)        $153,075.00                                     $0.00                                                $0.00                                           FA
Asset Notes:       The trustee and his auctioneer inspected the debtor's former location and 90% of this inventory was not onsite and no one could provide adequate information as to its whereabouts.
19       Insurance settlement from Federated                            (u)             Unknown                                    $0.00                                                $0.00                                           FA
Asset Notes:        From the original petition, no 1019 schedules were filed despite requests.
                   Order DN 140
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Case No.:                     17-32426-HDH                                                                                                                      Trustee Name:                               Scott M. Seidel
Case Name:                    PREMIUM COMMERCIAL PLUMBING, INC.                                                                                                 Date Filed (f) or Converted (c):            01/16/2018 (c)
For the Period Ending:        12/31/2020                                                                                                                        §341(a) Meeting Date:                       02/06/2018
                                                                                                                                                                Claims Bar Date:                            08/20/2018

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                         Asset Description                                        Petition/                   Estimated Net Value                   Property                Sales/Funds              Asset Fully Administered (FA)/
                          (Scheduled and                                        Unscheduled                  (Value Determined by                   Abandoned               Received by              Gross Value of Remaining Assets
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                                                                                                            Less Liens, Exemptions,
                                                                                                               and Other Costs)

20      BOBCAT                                                        (u)                 Unknown                             $25,005.00                                              $0.00                                            FA
Asset Notes:       The trustee discovered this asset and liquidated it for benefit of creditors
21      Potential cause of action against prior business              (u)                 Unknown                                     $0.00                                           $0.00                                            FA
Asset Notes:      This asset was added in the conversion schedules. The debtor's representative claims his prior "consultants" gave him bad business advice. The Trustee has assigned a number as a placeholder
                  and it in no way reflects what may be the actual value of the asset and cannot be used as the estimate of recovery. The trustee has not found any evidence of a valid claim against consultants.
22      note receivable                                             (u)             $76,000.04                                $4,000.00                                               $0.00                                            FA
Asset Notes:       Stephen Wilcox


                   Order DN 194
23     Transfer to Nigel Wilcox and Premium                           (u)                 Unknown                                     $0.00                                      $4,000.00                                             FA
       Mechanical
Asset Notes:     Order DN 186


TOTALS (Excluding unknown value)                                                                                                                                                                          Gross Value of Remaining Assets
                                                                                   $2,248,873.51                            $292,142.54                                           $4,000.00                                       $0.00




     Major Activities affecting case closing:
      12/30/2020      All settlement payments have been received , tax returns filed-awaiting 505b correspondence
      01/31/2020      The trustee continues with litigation of estate claims in pending adversary.
                      Conversion case.
                      Internal Revenue Service has perfected claim in excess of $2,500,000. against the Debtor and Debtor representatives jointly and severally
                      IRS wanted case converted for an orderly sale of assets see docket number 87
                      Debtor had a name change from Shade Tree Electric in approximately 2016.
                      12/15/18 Trustee continues to investigate the financial affairs of debtor, liquidate property and investigate and pursue a/r and preferences
                      3/1/18 Trustee liquidating estate property and investigating financial affairs of debtor


Initial Projected Date Of Final Report (TFR):              01/16/2020                               Current Projected Date Of Final Report (TFR):          05/31/2021                /s/ SCOTT M. SEIDEL
                                                                                                                                                                                     SCOTT M. SEIDEL
